                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

DON GIBSON, LAUREN CRISS, JOHN
MEINERS, and DANIEL UMPA, on behalf of
themselves and all others similarly situated,
                                                Civil Action No. 4:23-cv-00788-SRB
                 Plaintiffs,
                                                [Consolidated with 4:23-cv-00945-SRB]
       v.
                                                Hon. Stephen R. Bough
NATIONAL ASSOCIATION OF
REALTORS, et al.,

                 Defendants.




 NOTICE OF PENDING SETTLEMENT, JOINT MOTION TO CONTINUE TO STAY
   CASE AS TO DEFENDANT HANNA HOLDINGS, INC., AND JOINT STATUS
                            REPORT




      Case 4:23-cv-00788-SRB         Document 752     Filed 06/02/25    Page 1 of 6
       Plaintiffs Don Gibson, Lauren Criss, John Meiners, and Daniel Umpa (collectively

“Plaintiffs”) and Defendant Hanna Holdings, Inc. (“Howard Hanna,” and together with Plaintiffs,

the “Parties”), respectfully write to update the Court on the Parties’ agreement in principle to settle

all claims asserted against Howard Hanna in this action as part of a proposed nationwide class

settlement. This agreement is subject to the Court’s approval under Rule 23 of the Federal Rules

of Civil Procedure.

       As the Parties previously informed the Court in their May 2, 2025 Notice of Pending

Settlement and Joint Motion to Stay Case (ECF No. 733), Plaintiffs and Howard Hanna have

reached an agreement in principle to settle all claims. The Parties continue to negotiate the terms

of that settlement agreement in good faith. The Parties hereby jointly stipulate and request that

the Court continue to stay all deadlines and proceedings solely as to Howard Hanna to preserve

the resources of Plaintiffs, Howard Hanna, and the Court, and to seek approval of the settlement.

The Parties agree that this Notice and the stay requested herein shall not constitute a waiver of any

defenses, including but not limited to: (a) any jurisdictional defenses that may be available under

Rule 12 of the Federal Rules of Civil Procedure, statutory law, or common law (including but not

limited to personal jurisdiction defenses), (b) any affirmative defenses that may be available under

Rule 8 of the Federal Rules of Civil Procedure, statutory law, or common law, or (c) any other

statutory or common law defenses that may be available to Hanna Holdings in this or any other

related actions.

 Dated: June 2, 2025                                Respectfully submitted by:

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       Case 4:23-cv-00788-SRB                 -1- 752
                                         Document            Filed 06/02/25       Page 2 of 6
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     Case 4:23-cv-00788-SRB              -2- 752
                                    Document          Filed 06/02/25    Page 3 of 6
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     Case 4:23-cv-00788-SRB                 -3- 752
                                       Document       Filed 06/02/25   Page 4 of 6
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     Case 4:23-cv-00788-SRB               -4- 752
                                     Document       Filed 06/02/25   Page 5 of 6
                                  CERTIFICATE OF SERVICE

       The undersigned attorney of record hereby certifies that on June 2, 2025, a true and correct

copy of the foregoing was filed electronically by the Court’s CM/ECF system, which caused notice

and a copy of this filing to be sent to all counsel of record.

Dated: June 2, 2025                             /s/ David Z. Gringer
                                                David Z. Gringer




       Case 4:23-cv-00788-SRB                 -5- 752
                                         Document                Filed 06/02/25   Page 6 of 6
